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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

GIANT EAGLE, INC., a Pennsylvania corporation; and
TOPCO ASSOCIATES, LLC, a Delaware limited
liability company,

Plaintiffs,
Vv.

EASTERN MUSHROOM MARKETING
COOPERATIVE, INC., PHILLIPS MUSHROOM
FARMS L.P., KAOLIN MUSHROOM FARMS, INC.,
SOUTH MILL MUSHROOM SALES, INC., GIORGI
MUSHROOM CO., GIORGI FOODS, INC.
MONTEREY MUSHROOMS, INC., FRANKLIN
FARMS, INC., MODERN MUSHROOM FARMS,
INC., SHER-ROCKEE MUSHROOM FARMS, LLC,
C & C CARRIAGE MUSHROOM CO., CARDILE
MUSHROOMS, INC., CARDILE BROS.
MUSHROOMS PACKAGING, INC., GINO
GASPARI & SONS, INC. and/or GASPARI BROS.,
INC., OAKSHIRE MUSHROOM FARM INC.,
BROWNSTONE FARMS, INC. and/or
BROWNSTONE MUSHROOM FARM and/or
BROWNSTONE MUSHROOMS, LLC, TO-JO
FRESH MUSHROOMS, INC. and/or TO-JO
MUSHROOMS, INC., ROBERT A. FERRANTO JR.
t/a BELLA MUSHROOM FARMS, COUNTRY
FRESH MUSHROOM CO., FOREST MUSHROOM
INC., LRP MUSHROOMS, INC. and/or LRP
MUSHROOMS, LLC, LEONE PIZZINI & SON, INC.,
HARVEST FRESH FARMS, INC., KITCHEN PRIDE
MUSHROOMS, INC. and/or KITCHEN PRIDE
MUSHROOM FARMS, INC., LOUIS M. MARSON
JR., INC., MARIO CUTONE MUSHROOM CO. INC.
and/or M. CUTONE MUSHROOM CoO., M.D.
BASCIANI & SONS, INC., MASHA & TOTO, INC.,
tla M & T MUSHROOMS, MUSHROOM
ALLIANCE, UNITED MUSHROOM FARM
COOPERATIVE, INC. and/or UNITED MUSHROOM
FARM COOP, INC., W & P MUSHROOM INC., J-M
FARMS, INC., CREEKSIDE MUSHROOMS LTD.,
JOHN PIA, MICHAEL PIA,

Defendants.

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Civil Action No. 06-03523

The Honorable Thomas O’ Neill

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JURY TRIAL DEMANDED

 
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AMENDED COMPLAINT
Plaintiffs, Giant Eagle, Inc. (“Giant Eagle”) and Topco Associates, LLC (“Topco”)
complain against the above-named Defendants and, in support thereof, allege as follows:

NATURE OF THE ACTION

1. This antitrust action arises from Defendants’ conspiracy to curtail the supply of
agaricus mushrooms in the United States by purchasing mushroom farms operated by their
competitors, permanently shutting them down, and entering into agreements prohibiting future
use of those farms for growing mushrooms. These acts eliminated 42 million pounds of annual
supply and permitted Defendants to sell mushrooms to Plaintiffs and others at higher prices than
they could have charged in an unrestrained market. On December 16, 2004, the United States
Department of Justice filed a lawsuit challenging Defendants’ conspiracy as a violation of
Section 1 of the Sherman Act and on the same day a proposed consent decree was filed requiring
Defendants to cease their unlawful acts. Defendants’ conspiracy and their acts pursuant thereto
were in violation of Sections 1 and 2 of the Sherman Act, 15 U.S.C. §§ 1 and 2, Section 7 of the
Clayton Act, 15 U.S.C. § 18, and Ohio’s Valentine Act, Ohio Rev. Code §§1331.01, 1331.04-06,
and 1331.08, and Plaintiffs have been injured in their business and property as a result of those
violations.

2. As alleged below, each year American consumers spend over $800 million on
mushrooms, the vast majority of which are fresh agaricus mushrooms, the common table variety.
During all relevant times, the EMMC members controlled over 60 percent of all agaricus
mushrooms grown in the United States and approximately 90 percent of all agaricus mushrooms

grown in the eastern United States.
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3. Beginning in January 2001, the EMMC and its members undertook a wide-ranging
conspiracy to inflate the average prices for agaricus mushrooms by at least 8 percent around the
country. In May 2001, the EMMC and its members began to collectively conduct a “Supply Control”
campaign to impede and forestall competition from independent, non-EMMC farmers, thereby
eliminating the restraints on inflated prices that result from unfettered competition. The EMMC and its
members implemented their scheme through a number of different acts, including the elimination of a
significant amount of the supply from competing mushroom growers. In May 2001, the EMMC,
which was at all times acting as an agent of its members, bought four mushroom farms with an annual
combined growing capacity of approximately 29 million pounds. The EMMC then resold the four
properties at a combined total loss of over $1.2 million and placed permanent deed restrictions on the
properties at the time of each resale. The deed restrictions all prohibited the conduct of any business
related to the growing of mushrooms. For example, one deed restriction read: “This property shall
never be used for the cultivation, growing, marketing, sale or distribution of fresh mushrooms, canned
and/or processed mushrooms or related endeavors.”

4, Similarly, in February and August 2002, the EMMC purchased lease options, at a cost
of over $1 million, on two additional mushroom farms with a combined annual growing capacity of
approximately 14 million pounds. The lease options allowed the EMMC to file deed restrictions on
the two properties prohibiting the use of the properties for any business related to growing
mushrooms for a period of 10 years. The EMMC never entered into leases on these farms, but did
file the deed restrictions. No mushrooms have been grown on the properties that the EMMC bought
and leased since the deed restrictions were imposed by the EMMC. The EMMC and its members also

bought one or more mushroom farms in Texas to remove the mushroom supply from those farms.
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5. By imposing deed restrictions on the properties described above, the EMMC and its
members were able to substantially reduce the amount of land that was available in the United States
for mushroom production. Indeed, the EMMC touted the success of the Supply Control campaign to
its membership, claiming that it had “[aJnnually taken over SO million pounds out of production from
facilities which could have easily been purchased and remained in production.” By reducing the
amount of the land and facilities that were available to produce mushrooms in the United States, the
EMMC and its members were able to maintain artificial price increases for mushrooms of at least 8%.

6. In addition to the property transactions and deed restrictions to restrain mushroom
supply, the EMMC members supported and reinforced their scheme by: (a) collectively interfering
with any non-EMMC growers that sought to sell at prices that were below the artificially-inflated
prices set by the EMMC; and (b) using collective and conspiratorial acts to pressure independent
growers to join the EMMC and Defendants’ anticompetitive scheme.

7. The purpose and effect of the above conspiracy by the EMMC and its members was
to: (a) artificially reduce the supply of fresh mushrooms for American consumers, and (b) maintain
artificially-inflated mushroom prices. The anticompetitive effects from the conspiracy by the EMMC
members (in terms of reduced mushroom supply and artificially-inflated mushroom prices) continue to

date.

THE PARTIES

8. Plaintiff Giant Eagle is a Pennsylvania corporation with its principal offices
located at 101 Kappa Drive, Pittsburgh, Pennsylvania. Giant Eagle is engaged in the retail
grocery supermarket business and, by itself and through its subsidiaries, owns, operates, and
licenses over 200 Giant Eagle® supermarkets in Pennsylvania, Ohio, West Virginia, and

Maryland. Giant Eagle annually purchases nearly $7 million of fresh and canned mushrooms for
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resale to the public. Most, if not all, of these mushrooms are purchased from the Eastern
Mushroom Marketing Cooperative (“EMMC”) and its members through Topco, a buying
cooperative, of which Giant Eagle is a member.

9. Plaintiff Topco is a Delaware limited liability company with its principal offices
located at 7711 Gross Point Road, Skokie, Illinois. Topco is a buying cooperative that provides
procurement, quality assurance, packaging, and other services for its member-owners which
include supermarket retailers, wholesalers, and food service companies. As a privately—held
cooperative, Topco has no conflicting profit motive because it distributes substantially all of its
earnings back to its member-owners based on each member’s level of participation. Giant Eagle
is a member of Topco and, accordingly, at all times relevant hereto, Topco acted on behalf of
Giant Eagle and other Topco members in purchasing mushrooms from Defendants for resale to
the public.

10. Defendant EMMC began operations in January 2001, and is the largest mushroom
cooperative in the United States. EMMC is incorporated in the Commonwealth of Pennsylvania
and is headquartered in Kennett Square, Pennsylvania. EMMC is made up of entities that grow,
buy, package, and ship mushrooms to retail and food service outlets across the United States. On
information and belief, one or some of the EMMC members are not “farmers” within the
meaning of the Capper-Volstead Act (“Capper-Volstead”), 7 U.S.C. § 291 et seq. During the
2001-2002 growing season, EMMC had approximately 19 members with control of more than
500 million pounds of mushrooms which are valued in excess of $425 million. EMMC sets the
minimum prices at which its members sell their mushrooms to customers in various geographic

regions throughout the United States and publishes those prices regularly.
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11. Defendant Phillips Mushroom Farms, L.P. (“Phillips”) is a mushroom grower
with its principal offices located in Kennett Square, Pennsylvania. Phillips was an EMMC
member at all relevant times. As of December 2002, Phillips was the largest supplier of specialty
mushrooms in the United States, selling 35 million pounds of mushrooms annually. Phillips
distributed mushrooms throughout the eastern United States. Phillips was an EMMC member at
all relevant times, and participated in the improper conduct alleged herein.

12. Defendant Kaolin Mushroom Farms, Inc. (“Kaolin”) is a corporation organized
and existing under the laws of the Commonwealth of Pennsylvania and whose principal office is
located in Kennett Square, Pennsylvania. Kaolin was an EMMC member at all relevant times
and operates one of the largest mushroom farms in Pennsylvania and transacts business in this
district. During all relevant times Kaolin sold mushrooms to retail, wholesale, food service and
commercial processors, under the South Mill label. Kaolin participated in the improper conduct
alleged herein.

13. Defendant South Mill Mushroom Sales, Inc. (“South Mill’’) is a corporation
organized under the laws of the Commonwealth of Pennsylvania with a principal place of
business in Kennett Square, Pennsylvania and is believed to be related through common
ownership to Kaolin. On information and belief, South Mill participated with Kaolin in the
improper conduct alleged herein.

14. Defendants Giorgi Mushroom Co. and Giorgi Foods, Inc. (collectively ““Giorgi’’)
are corporations organized and existing under the laws of the Commonwealth of Pennsylvania
with an address of P.O. Box 96, Temple, PA 19560. Giorgi was an EMMC member at all

relevant times, and participated in the improper conduct alleged herein.
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15. | Defendant Monterey Mushrooms, Inc. (“Monterey”) has its principal offices in
Watsonville, California. Monterey is a national grower and shipper of mushrooms with a full
line of fresh domestic and specialty mushrooms which it sells to supermarkets, foodservice and
ingredient manufacture operations, and for preparation of processed, canned, and frozen
mushroom products. Monterey is the largest grower/shipper and marketer of fresh mushrooms in
the United States, with farms in Florida, Illinois, California, Texas, Tennessee, and
Pennsylvania. In addition, Monterey also sells processed mushrooms that are canned, frozen,
and glass-jarred, which it processes at facilities and plants in Missouri, California, Pennsylvania,
Indiana and Texas. Monterey was an EMMC member at all relevant times, and participated in
the improper conduct alleged herein.

16. Defendant Franklin Farms, Inc. (“Franklin”) is a mushroom grower with its
principal offices in North Franklin, Connecticut. Franklin is the nation’s largest grower and
harvester of certified organic mushrooms, and one of the largest agricultural businesses in New
England. On information and belief, Franklin was an EMMC member from the inception of the
EMMC until September 1, 2003 when it resigned but once again became an EMMC member on
February 14, 2006. Franklin participated in the improper conduct alleged herein.

17. Defendant Modern Mushroom Farms, Inc. (“Modern”) is a mushroom grower
with its principal offices in Toughkenamon, Pennsylvania. Modern grows and sells agaricus
mushrooms under the Modern Mushroom Farms label. Modern is presently and was a member
of the EMMC at all relevant times, and participated in the improper conduct alleged herein.

18. Defendant Sher-Rockee Mushroom Farms, LLC (“Sher-Rockee”), is a limited
liability company organized under the laws of the Commonwealth of Pennsylvania with a

principal place of business in Lincoln University, Pennsylvania, and is related through common
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ownership to Modern. On information and belief, Sher-Rockee participated with Modern in the
improper conduct alleged herein.

19. Defendant C & C Carriage Mushroom Co. (“C & C”) is a business corporation
organized under the laws of the Commonwealth of Pennsylvania with a principal place of
business located in Toughkenamon, Pennsylvania, and is wholly owned by Modern. On
information and belief, C & C participated with Modern in the improper conduct alleged herein.

20. Defendant Cardile Mushrooms, Inc. is a mushroom grower with its principal
offices in Avondale, Pennsylvania. Defendant Cardile Brothers Mushroom Packaging, Inc. is a
Pennsylvania business corporation that packages, sells and distributes mushrooms with its
principal offices in Avondale, Pennsylvania. Both Cardile Mushrooms, Inc. and Cardile Brothers
Mushroom Packaging, Inc. (collectively “Cardile”) are owned and operated by Michael P.
Cardile Sr. and Charles Cardile. Cardile was an EMMC member at all relevant times and during
the time that EMMC was implementing the Supply Control campaign. It participated in the
improper conduct alleged herein.

21. Defendants Gino Gaspari & Sons, Inc. and/or Gaspari Bros., Inc. (collectively
“Gaspari”) are corporations organized under the laws of the Commonwealth of Pennsylvania
with a principal place of business in Temple, Pennsylvania. On information and belief, Gaspari
is and was a member of the EMMC at all relevant times, and participated in the improper
conduct alleged herein.

22. Defendant Oakshire Mushroom Farm Inc. (“Oakshire”) is a corporation organized
under the laws of the Commonwealth of Pennsylvania with its principal place of business in
Kennett Square, Pennsylvania. On information and belief, Oakshire is and has been at all

relevant times a member of the EMMC, and participated in the improper conduct alleged herein.
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23. Defendant Brownstone Farms, Inc. and/or Brownstone Mushroom Farm and/or
Brownstone Mushrooms, LLC (“Brownstone”) is a corporation organized under the laws of the
Commonwealth of Pennsylvania with a principal place of business in Hanover, Pennsylvania, or,
in the alternative, in Avondale, Pennsylvania. On information and belief, Brownstone is and has
been at all relevant times a member of the EMMC, and participated in the improper conduct
alleged herein.

24, Defendant To-Jo Fresh Mushrooms, Inc. and/or To-Jo Mushrooms, Inc. (“To-Jo”)
is a corporation organized under the laws of the Commonwealth of Pennsylvania with a principal
place of business in Avondale, Pennsylvania and is related to and controlled by Brownstone. On
information and belief, To-Jo participated in the improper conduct alleged herein.

25. Defendant Robert A. Ferranto Jr. t/a Bella Mushroom Farms (“Bella”) is an
individual with a business address of R.R. 1, Box 165B, Landenberg, Pennsylvania 19350. On
information and belief, Bella is and has been a member of the EMMC since December 13, 2005,
and participated in the improper conduct alleged herein.

26. Defendant Country Fresh Mushroom Co. (“Country F resh”’) is a corporation
organized under the laws of the Commonwealth of Pennsylvania with a principal place of
business in Avondale, Pennsylvania. On information and belief, Country Fresh is and has been a
member of the EMMC since September 26, 2002, and participated in the improper conduct
alleged herein.

27. Defendant Forest Mushroom, Inc. (“Forest Mushroom’’) is a corporation whose
principal office is located in Saint Joseph, Minnesota. On information and belief, Forest
Mushroom has been a member of the EMMC since the EMMC’s inception, and participated in

the improper conduct alleged herein.
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28. Defendants LRP Mushrooms, Inc. and LRP Mushrooms, LLC (collectively
“LRP”), with a principal place of business at 137 Starr Road, Avondale, Pennsylvania 19311,
and Leone Pizzini & Son, Inc. (“Pizzini”), a Pennsylvania corporation with a principal place of
business in Landenberg, Pennsylvania are all related through common ownership. On
information and belief, LRP is and has been a member of the EMMC since the EMMC’s
inception and Pizzini was an EMMC member from February 4, 2001 through September 1, 2004.
On information and belief, LRP and Pizzini participated in the improper conduct alleged herein.

29, Defendant Harvest Fresh Farms, Inc. (“Harvest F resh”) is a corporation organized
under the laws of the Commonwealth of Pennsylvania with a principal place of business in
Shoemakersville, Pennsylvania. On information and belief, Harvest Fresh was a member of the
EMMC from the EMMC’s inception until September 1, 2004, and participated in the improper
conduct alleged herein.

30. Defendant Kitchen Pride Mushrooms, Inc. and/or Kitchen Pride Mushroom
Farms, Inc. (“Kitchen Pride”) is a corporation with an address of P.O. Box 585, Gonzalez, Texas
78629. On information and belief, Kitchen Pride was an EMMC member from J anuary 9, 2001
through September 1, 2001. Upon information and belief, Kitchen Pride also participated
through the Mushroom Alliance in the improper conduct alleged herein.

31. Defendant Louis M. Marson Jr., Inc. (“Marson”’) is a corporation organized under
the laws of the Commonwealth of Pennsylvania with a principal place of business at 459
Greenwood Road, Kennett Square, Pennsylvania 19348. On information and belief, Marson was
an EMMC member from January 9, 2001 through September 1, 2005, and participated in the

improper conduct alleged herein.
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32. Defendant Mario Cutone Mushroom Co., Inc. and/or M. Cutone Mushroom Co.
(“Cutone”) is a corporation with a place of business in Chelsea, Pennsylvania, or, in the
alternative, in Avondale, Pennsylvania. On information and belief, Cutone was a member of the
EMMC from January 20, 2001 through September 1, 2002, and participated in the improper
conduct alleged herein.

33. Defendant M.D. Basciani & Sons, Inc. (“Basciani”) is a corporation organized
under the laws of the Commonwealth of Pennsylvania with a principal place of business at 8874
Gap Newport Pike, Avondale, PA 19311. On information and belief, Basciani was a member of
the EMMC from January 9, 2001 through September 1, 2004, and participated in the improper
conduct alleged herein.

34. Defendant Masha & Toto, Inc., t/(a M & T Mushrooms (“M & T”) is a corporation
organized under the laws of the Commonwealth of Pennsylvania with a principal place of
business at 519 Hillendale Road, Avondale, Pennsylvania 19311. On information and belief, M
& T was an EMMC member from January 26, 2001 through September 1, 2001, and participated
in the improper conduct alleged herein.

35. On information and belief, Defendant Mushroom Alliance, Inc. (“Mushroom
Alliance”) is an agricultural cooperative incorporated in Washington. Its designated registered
agent is CT Corporation System, 520 Pike Street, Seattle, Washington 98101. On information
and belief, Mushroom Alliance was an EMMC member from J anuary 9, 2001 through
September 1, 2001, and participated in the improper conduct alleged herein.

36. Defendant United Mushroom Farm Cooperative, Inc. and/or United Mushroom
Farm CoOp, Inc. (“United”) is a corporation organized under the laws of the Commonwealth of

Pennsylvania with a principal place of business at 101 New Garden Road, Avondale, PA 19311.

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On information and belief, United was a member of the EMMC from April 7, 2003 through
September 1, 2005, and participated in the improper conduct alleged herein.

37. Defendant W & P Mushroom Inc. (“W & P”) is a corporation organized under the
laws of the Commonwealth of Pennsylvania with its principal place of business in Oxford,
Pennsylvania. On information and belief, W & P was a member of the EMMC from September
4, 2002 through September 1, 2004, and participated in the improper conduct alleged herein.

38. Defendant J-M Farms, Inc. is a member of the Mushroom Alliance. Its principal
place of business is in Miami, Oklahoma. On information and belief, J-M Farms participated
through the Mushroom Alliance in the improper conduct alleged herein.

39, Defendant Creekside Mushrooms Ltd. (“Creekside”) is a member of the
Mushroom Alliance. Its principal place of business is in Worthington, Pennsylvania. On
information and belief, Creekside participated through the Mushroom Alliance in the improper
conduct alleged herein.

40. Defendant John Pia was one of the founders and president of EMMC, and is the
Chief Executive Officer of Kaolin Mushroom Farms, Inc., which is one of EMMC’s members.

41, Defendant Michael Pia is an individual citizen and resident of the state of
Pennsylvania. Michael Pia was an officer of EMMC, and as such was directly responsible for its
anticompetitive practices.

JURISDICTION AND VENUE

42. This action is brought pursuant to Section 4 of the Clayton Act, 15 U.S.C. § 15,
and the Ohio Valentine Act, Ohio Rev. Code §§ 1331.01, 1331.04-06, and 1331.08, to recover
treble damages and costs of suit, including reasonable attorneys’ fees, for injuries to Plaintiffs in

the form of overcharges resulting from Defendants’ unlawful anticompetitive conduct.

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43. This Court has jurisdiction over the subject matter of this civil action pursuant to
28 U.S.C. §§ 1331, 1337, and 1367 and 15 U.S.C. § 15.

44. Venue is proper in the United States District Court for the Western District of
Pennsylvania under 28 U.S.C. § 1391 and 15 U.S.C. § 22 because: (i) Defendants transact
business, committed an illegal act, and/or are found within that district; and (11) a significant
portion of the affected trade and commerce described below has been carried out in that district.
In addition, Plaintiff Giant Eagle is located in that district. See Brief in Opposition to Motion to
Transfer Venue Pursuant to 28 U.S.C. § 1404(a), filed on May 22, 2006 in the Western District
of Pennsylvania. While Chief Judge Donetta Ambrose of the United States District Court for the
Western District of Pennsylvania ordered transfer of this case to this Court pursuant to 28 U.S.C.
§ 1404(a), Plaintiffs intend to seek transfer of this case back to the Western District of
Pennsylvania for trial.

INTERSTATE TRADE AND COMMERCE

45, At all times relevant hereto, Defendants each grew and sold substantial amounts
of agaricus mushrooms in a continuous and uninterrupted flow of commerce across state lines
and throughout the United States—including Ohio.

46. At all material times, agaricus mushrooms grown and sold by Defendants were
shipped across state lines and sold to customers located outside the state where they were grown.

47, At all times relevant hereto, Defendants transmitted funds as well as contracts,
invoices and other forms of business communications and transactions in a continuous and
uninterrupted flow of commerce across state and national lines in connection with the sale of

agaricus mushrooms.

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48. Defendants employed, in furtherance of their unlawful agreement to restrict the
supply of mushrooms, the United States mails and interstate and international telephone lines, as
well as means of interstate and international travel.

49. Each Defendant, in furtherance of their unlawful conspiracy to restrict the supply
of mushrooms, committed illegal acts within and outside of the State of Ohio.

50. The illegal agreement to restrict the supply of mushrooms and to suppress
competition for agaricus mushrooms alleged herein has substantially affected interstate and
foreign commerce.

51. The illegal conduct alleged herein has substantially affected interstate and foreign

commerce. It also had a substantial effect on commerce within the State of Ohio.

THE RELEVANT MARKET

52. Agaricus mushrooms are the common table variety, accounting for the vast
majority of mushrooms grown and sold in the United States, In 2002, domestic sales of all
mushrooms were over $800 million. EMMC members accounted for over 60 percent of those
sales.

53. Mushrooms are grown on farms, usually in one-story windowless cinder block
buildings called “doubles.” Doubles are kept cool and dark at an optimum ground temperature
of 64 degrees year round. Mushrooms are grown in stacks of beds, usually six beds to a stack
and 24 beds to a double. The growing process takes approximately eight weeks to harvest from
the introduction of mushroom seed, or “spawn” into the growing medium, usually compost.
Once harvested, mushrooms are usually kept in refrigerated storage on the farms until packaged

and shipped in refrigerated trucks to customers.

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54. Agaricus mushrooms of better quality are sold to fresh market retailers such as
grocery store chains and food distributors. Lesser quality agaricus mushrooms are often sold as
canned mushrooms. The majority of the agaricus mushrooms grown by EMMC members are
sold as fresh.

55. According to the U.S. Department of Agriculture, approximately 66 percent of the
domestic agaricus mushrooms grown in the United States are grown in the eastern United States,
with 55 percent grown in Pennsylvania. Fresh market mushroom prices historically have been
lowest in the east, and some fresh mushrooms grown in the eastern United States are shipped

west.

DEFENDANTS’ UNLAWFUL CONSPIRACY
TO RESTRICT THE SUPPLY OF MUSHROOMS

56. Shortly after its formation, in January 2001, EMMC and its members agreed to set
increased minimum prices at which they would sell mushrooms in six different geographic
regions, covering the entire continental United States—including Ohio. The minimum prices
they agreed to were, on average, 8% higher than the prices prevailing in those regions prior to
EMMC’s formation. The price increases resulted in an increase of the price of agaricus
mushrooms at all times relevant hereto.

57. EMMC controlled over 60 percent of all agaricus mushrooms grown in the United
States during the 2001-2002 growing season and approximately 90 percent of all agaricus
mushrooms grown in the eastern United States during the same growing season.

58. In order to support and maintain the artificial price increases, the Defendants
eliminated competing mushroom supply, which could otherwise force down the artificially-
increased prices. Within three months of instituting the price increases, the Defendants launched

a campaign to control the mushroom supply by acquiring and subsequently dismantling non-

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EMMC mushroom growing operations. These actions did not serve, nor were they intended to
serve, any legitimate or lawful purpose.

59. Depending on the size and location, building a new mushroom growing and
production facility costs millions of dollars and generally requires zoning approval. Building a
new facility takes much longer to generate any revenue than purchasing or leasing an existing
growing operation. By eliminating the existing available productive capacity, the Defendants
substantially reduced and impeded the existence of current competition and substantially
forestalled and delayed the entry of new competitors and/or the expansion of existing
competitors.

60. Through membership dues and a “Supply Control Assessment” EMMC collected
approximately $6 million from its members during 2001 and 2002. EMMC, acting as an agent
of its members, then spent approximately $3 million to purchase four mushroom farms and to
acquire lease options on two additional mushroom farms in the eastern United States for the
purpose of shutting them down and reducing the mushroom production capacity available for
nonmembers to grow mushrooms in competition with the Defendants.

61. In May 2001, EMMC purchased a farm in Dublin, Georgia at a bankruptcy
auction. The Dublin farm had an annual mushroom production capacity of approximately eight
million pounds. At the auction, EMMC outbid a non-EMMC mushroom grower based in
Colorado that was attempting to enter mushroom farming in the eastern United States in
competition with EMMC. Three months later, EMMC entered into a land exchange with a land
developer not connected to the mushroom industry, in which EMMC exchanged the Dublin farm
for another mushroom farm consisting of two parcels in Evansville, Pennsylvania, plus cash. As

part of the exchange, EMMC placed a permanent deed restriction on the Dublin farm prohibiting

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the conduct of any business related to the growing of mushrooms. EMMC lost approximately
$525,000 on the Dublin farm purchase and exchange transactions.

62. | Within three months of the Dublin farm/Evansville land exchange, EMMC sold
the largest parcel of the Evansville, Pennsylvania farm to a third party, with a permanent deed
restriction prohibiting the conduct of any business related to the growing of mushrooms. Less
than a year later, EMMC sold the second parcel with the same permanent deed restriction. The
two parcels making up the Evansville, Pennsylvania farm, with an annual mushroom growing
capacity of 15 million pounds, were sold at a collective loss of $ 137,000.

63. In January 2002, EMMC purchased Gallo’s Mushroom Farm (“‘Gallo’s’’), in
Berks County, Pennsylvania. Gallo’s had an annual mushroom growing capacity of two million
pounds. Less than four months later, EMMC sold Gallo’s at a loss of $77,500 with a permanent
deed restriction prohibiting the conduct of any business related to the growing of mushrooms.

64. In February 2002, EMMC agreed to pay $ 1 million to the owners of Ohio Valley
Mushroom Farms for, among other things, a non-compete agreement, a right of first refusal to
lease the mushroom growing operations, a right of first refusal to purchase the properties, and the
right to record a deed restriction prohibiting the conduct of any business related to mushroom
growing on the property for ten years. The EMMC did not lease or purchase the property, but
filed the deed restriction on the Ohio Valley Farm, which had operated as a mushroom growing
concern with annual capacity of nine million pounds.

65. In March 2002, EMMC purchased the La Conca D’Oro mushroom farm in Berks
County, Pennsylvania. The La Conca D’Oro farm had an annual production capacity of
approximately five million pounds. EMMC sold the farm and the mushroom-growing

equipment on the farm approximately three months later at a loss of $500,000. Like the other

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EMMC acquired properties, this land was sold with a deed restriction prohibiting anyone from
conducting any business related to the growing of mushrooms on the property.

66. In August 2002, EMMC purchased a ten-year lease option on the Amadio Farm in
Berks County, Pennsylvania for $230,000. The Amadio Farm had an annual mushroom
production capacity of approximately five million pounds. The owner of the property agreed
with EMMC to the filing of a deed restriction on the property prohibiting anyone other than
EMMC from conducting any business related to the growing of mushrooms for ten years.

EMMC never entered into a lease on the property.

67. As a result of the deed restrictions placed by EMMC on these six mushroom
farms in the eastern United States, EMMC removed more than 42 million pounds of annual
growing capacity from that region, or approximately 8% of the total capacity in the eastern
United States.

68. In addition to the farms in Pennsylvania, Georgia and Ohio, the Defendants also
implemented the Supply Control campaign to buy mushroom farms to restrict mushroom
production in other states. For example, as part of its Supply Control program, EMMC acquired
a farm in Hillsborough, Texas, which EMMC purchased to reduce and forestall the threat of a
competitor, Stuart Thomas, from producing mushrooms in Texas. As a result of EMMC’s
actions in various states, EMMC eliminated at least 50 million pounds of mushroom supply, if
not more. EMMC touted the success of the Supply Control Campaign to its membership
claiming it had “[a]nnually taken over 50 million pounds out of production from facilities which
could have easily been purchased and remained in production.”

69. The Defendants’ purpose in entering into the purchase and lease transactions was

to reduce or eliminate the agaricus mushroom growing capacity available to potential

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independent competitors in the United States, thereby improving Defendants’ ability to maintain
the artificially-inflated price increases to which they had agreed. Moreover, these land purchases
and lease/option agreements did not, nor were they intended to, serve any legitimate or lawful
purpose under Capper-Volstead, such as the promotion of growing or marketing the Defendants’
mushrooms.

70. In addition to the property transactions and deed restrictions to restrain agaricus
mushroom supply alleged above, EMMC members supported and reinforced their scheme by: (a)
collectively interfering with any non-EMMC growers that sought to sell at prices that were
below the artificially-inflated prices set by EMMC; and (b) using collective and conspiratorial
acts to pressure independent growers to join EMMC and the Defendants’ unlawful conspiracy.
Plaintiffs have yet to uncover all other actions taken by EMMC to restrict competition.

71. In the mushroom-growing industry, growers frequently sell fresh mushrooms to
each other to fill daily needs. Because the EMMC members control over 60% of the national
mushroom supply, and approximately 90% of the mushroom supply in the eastern United States,
the EMMC members were able to use their collective strength to place pressure on non-EMMC
members to force independent growers to join the EMMC cooperative (and thus the unlawful
conspiracy to restrict the supply of mushrooms) or to refrain from selling mushrooms at lower
prices that would undermine the unlawful conspiracy. The EMMC members applied such
pressure and coercion through various means, including but not limited to threatening and/or
implementing a group boycott in which they would not sell mushrooms to other growers who
needed them to meet short term supply needs and/or selling mushrooms to such independent
growers at inflated levels.

72. Through the collective boycotts and other collective efforts to penalize non-

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EMMC members that threatened to undermine the Defendants’ unlawful conspiracy, the
Defendants caused the artificial inflation of prices for not only the fresh agaricus mushrooms that
the Defendants sold, but also for the fresh agaricus mushrooms sold by non-EMMC growers.

73. As aresult of EMMC’s violations, the acreage and facilities available to produce
mushrooms for American consumers was artificially reduced, and consumers were deprived of
the benefits of competition.

74. All conditions precedent to this action have been performed or have occurred.

PLAINTIFFS SUFFERED ANTICOMPETITIVE HARM
FROM DEFENDANTS’ UNLAWFUL CONSPIRACY

75. Since Defendants’ unlawful conspiracy began in 2001, Giant Eagle has purchased

its mushrooms from EMMC members in the following approximate amounts:

Fresh Canned
2001 $6,756,000 $677,000
2002 $6,975,000 $712,000
2003 $6,656,000 $595,000
2004 $5,944,000 $1,035,000
2005 $5,807,000 $944,000

Purchases have continued since 2005 and these figures will be updated in discovery.

76. All of these purchases by Giant Eagle were made through Topco who, at all times
relevant hereto, acted as Giant Eagle’s purchasing agent. In addition, Topco purchased
mushrooms for other Topco members. Topco’s total purchases of mushrooms for Topco
members from EMMC members during the period 2001 through November 2004 aggregated
$46,819,000.

77. As a result of Defendants’ unlawful conduct, Plaintiffs were compelled to pay,

and did pay, artificially inflated prices for agaricus mushrooms.

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78. The overall effect of Defendants’ unlawful agreement was to allow them to
charge a higher price for agaricus mushrooms by excluding competitors and artificially
constricting supply.

79. Those prices were substantially greater than the prices that Plaintiffs would have
paid absent the illegal conduct because (1) the price of agaricus mushrooms was artificially
inflated by Defendants’ illegal conduct; and/or (2) Plaintiffs were deprived of the opportunity to
purchase competitively priced agaricus mushrooms.

80. As a direct consequence of Defendants’ unlawful conduct, Plaintiffs have
sustained substantial losses and damage to their business and property in the form of
overcharges. The full amount and forms and components of such damages will be calculated
after discovery and upon proof at trial.

CAPPER-VOLSTEAD AND ITS OHIO COUNTERPART DO NOT
IMMUNIZE DEFENDANTS FROM THEIR UNLAWFUL CONDUCT

81. EMMC is organized pursuant to Capper-Volstead. Under Capper-Volstead and
its Ohio counterpart, the Cooperative Agricultural Marketing Act of Ohio Rev. Code § 1729.70
(the “Cooperative Act”), farmers have limited immunity from the antitrust laws to act together
voluntarily in “collectively processing, preparing for market, handling and marketing” their
products, and “may take the necessary contracts and agreements to effect such purposes.”
Capper-Volstead and the Cooperative Act provide no immunity, however, for cooperative
members to conspire to prevent independent, nonmember farmers from competing with the
cooperative or its members. In addition, as noted above, it is believed that one or some of the
EMMC’s members are not “farmers” within the meaning of Capper-Volstead, and therefore, they

are not entitled to any antitrust immunity for their acts.

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82. The Supply Control campaign is not a joint activity protected by the exemption
from the federal or Ohio antitrust laws created by Capper-Volstead and the Cooperative Act.

83. Plaintiffs’ injuries are caused by Defendants’ unlawful conduct and not by any
activity immunized from antitrust liability by Capper-Volstead and the Cooperative Act.

GOVERNMENT INVESTIGATION AND
JUSTICE DEPARTMENT’S ANTITRUST ACTION

84. On December 16, 2004, the United States Department of Justice filed a complaint
against EMMC, styled United States of America v. Eastern Mushroom Marketing Cooperative,
Inc., Civil Case No. 2: 04-CV-5829 (the “DOJ Complaint’’) in the United States District Court
for the Eastern District of Pennsylvania challenging EMMC’s Supply Control campai gn as an
agreement in restraint of trade in violation of Section 1 of the Sherman Act. That same day, the
Department of Justice filed a proposed consent decree that requires EMMC to stop buying
mushroom farms only to shut them down, and to make farms it had previously shut down
available to competing farmers. That Final Judgment was subsequently entered on September 9,
2005. Pursuant to 15 U.S.C. § 16(a), entry of that Final Judgment does not impair this action.

FRAUDULENT CONCEALMENT

85. At all times relevant hereto, Defendants affirmatively concealed their unlawful
conduct from Plaintiffs. Plaintiffs did not discover, and could not discover through the exercise
of reasonable diligence, that Defendants were violating the antitrust laws as alleged herein until
approximately December 2004, when the Justice Department announced that it had filed a civil
complaint against EMMC and that EMMC had consented to entry of a final judgment against it.
Nor could Plaintiffs have discovered the violations earlier than that time because Defendants and
their co-conspirators conducted their conspiracy in secret, concealed the nature of their unlawful

conduct and acts in furtherance thereof, attempted to confine information concerning the

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identities of the combination and conspiracy’s membership and concealed from public scrutiny
their activities through various other means and methods designed to avoid detection.

86. Defendants and their co-conspirators affirmatively concealed the existence of the
violations alleged through the following actions, among others:

a. Conducting non-public meetings and communications in which the

Defendants agreed upon and implemented the scheme set forth herein;

b. Avoiding references or discussion in public documents of the identities of
EMMC’s membership and the unlawful conspiracy and acts set forth

herein;

c. Participating in non-public meetings and conversations to monitor and

enforce adherence to the conspiracy; and

d. Falsely representing that EMMC members’ prices were fair and
competitive.
87. As a result of Defendants’ concealment, Plaintiffs assert the tolling of any

applicable statute of limitations affecting the rights of action of Plaintiffs. Plaintiffs exercised
due diligence to learn of their legal rights, and, despite the exercise of due dili gence, did not
discover and could not have discovered the antitrust violations alleged above at the time they

occurred.

88. In addition, due to Defendants’ continuing violations of federal antitrust laws and
the speculative nature of the damages to Plaintiffs, Plaintiffs assert the tolling of any applicable
statute of limitations with respect to any claims and rights of action that Plaintiffs have as a result

of the unlawful contract, combination, and conspiracy alleged in this Amended Complaint.

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COUNT I
(Restraint of Trade in Violation of Section 1 of the Sherman Act 15 U.S.C. § 1)
(Against All Defendants)

89. Plaintiffs repeat and reallege all preceding paragraphs of this Complaint as if fully
set forth herein.

90. Agaricus mushrooms, fresh agaricus mushrooms and canned agaricus mushrooms
are relevant product markets or submarkets within the meaning of Section 1 of the Sherman Act,
15 U.S.C. § 1. The United States and the eastern United States constitute relevant geographic
markets or submarkets within the meaning of Section 1 of the Sherman Act.

91. From at least May 1, 2001, and continuing to date, the Defendants combined and
conspired to unreasonably restrain competition in the market or markets for agaricus mushrooms
in the United States in violation of 15 U.S.C. $1.

92. To form and effectuate this conspiracy, EMMC and its members did the following
things, among others:

a. collectively funded the Supply Control campaign;

b. sold four properties with permanent deed restrictions forbidding the
conduct of any business related to the production of mushrooms;

c. entered agreements with nonmembers to place deed restrictions
on two properties for which the cooperative purchased lease options;

d. filed deed restrictions on two properties prohibiting the conduct of any
business related to the production of mushrooms for ten years; and

e. supported and reinforced the scheme by: (i) collectively interfering
with, penalizing and retaliating against any non-EMMC growers that
sought to sell at prices that were below the artificially-inflated prices
set by the EMMC; and (ii) using collective and conspiratorial acts to
pressure independent growers to join the EMMC and the Defendants’
anticompetitive scheme.

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93. Defendants are or may not be entitled to immunity from the antitrust laws under
Capper-Volstead, as it is believed that one or some of the EMMC members are not “farmers”
within the meaning of Capper-Volstead.

94. In addition, the Supply Control campaign and the other unlawful conduct alleged
herein are not joint activities that are protected by the exemption from the antitrust laws created
by Capper-Volstead. Under Capper-Volstead, farm cooperatives are not immune from antitrust
liability when they engage in exclusionary practices, or suppress competition with non-members,
which is what Defendants did here. By eliminating mushroom supply from non-EMMC
members, and/or using collective efforts to penalize non-EMMC members that charged lower
prices, the Defendants suppressed competition from growers that were not members of the
cooperative.

95. There was no legitimate business justification and/or the scheme and conspiracy
among Defendants. Moreover, the land purchases and lease/option agreements did not, nor were
they intended to, serve any legitimate or lawful purpose under Capper-Volstead, such as the
promotion of growing or marketing the Defendants’ mushrooms. Defendants’ scheme,
collusion, agreements and conspiracy alleged herein have enabled Defendants to maintain prices
for agaricus mushrooms at artificially high levels.

96. As a direct and proximate result of the unlawful conduct of Defendants in
restraining competition in the sale of agaricus mushrooms, Plaintiffs have been injured in their
business and property in that they paid more for fresh and canned agaricus mushrooms than they

otherwise would have paid in the absence of Defendants’ unlawful conduct.

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97. The price for agaricus mushrooms will remain artificially high for an indefinite

period into the future due to the long lead time needed to start a mushroom farm and other

barriers to entry.

REQUEST FOR RELIEF

WHEREFORE, Plaintiffs respectfully request:

a.

That Defendants’ unlawful combination and conspiracy as set forth in
Count I of this Complaint be adjudicated and decreed a per se violation of
the Sherman Act, 15 U.S.C. § 1 and an unreasonable restraint of trade in

violation of the Sherman Act, 15 U.S.C. § 1;

That Plaintiffs recover damages against Defendants, jointly and severally,
in an amount to be trebled in accordance with the antitrust laws pursuant

to 15 U.S.C. § 15(a);

That Plaintiffs be awarded their expenses and costs of prosecuting this
action, including reasonable attorneys’ fees and experts’ fees and costs to

the extent provided by law;

That Plaintiffs be awarded pre-judgment and post-judgment interest at the
highest legal rate allowable by law;

That this Court permanently enjoin all continuing and future unlawful

activity by Defendants in violation of the antitrust laws; and

That Plaintiffs be awarded such additional relief as this Honorable Court

may deem just and proper.

COUNT II

(Monopolization or Attempted Monopolization in Violation of Sherman Act Section 2)

(Against Defendant EMMC)

98. Plaintiffs incorporate by reference all of the foregoing allegations as though fully

set forth at length.

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99. At all relevant times, Defendant EMMC possessed or attempted to acquire
monopoly power in the relevant market -- i.e., the market for agaricus mushrooms in the United
States and/or the market for agaricus mushrooms in the eastern United States.

100. During the relevant period, Defendant EMMC violated section 2 of the Sherman
Act, 15 U.S.C. § 2, by willfully and unlawfully acquiring, maintaining, and/or attempting to
acquire or maintain monopoly power by, inter alia:

a. collectively funding the Supply Control campaign;

b. selling four properties with permanent deed restrictions forbidding the
conduct of any business related to the production of mushrooms;

c. entering into agreements with nonmembers to place deed restrictions
on two properties for which the cooperative purchased lease options;

d. filing deed restrictions on two properties prohibiting the conduct of any
business related to the production of mushrooms for ten years; and

e. supporting and reinforcing the scheme by: (i) collectively interfering
with, penalizing and retaliating against any non-EMMC growers that
sought to sell at prices that were below the artificially-inflated prices
set by the EMMC; and (ii) using collective and conspiratorial acts to

pressure independent growers to join the EMMC and the Defendants’
anticompetitive scheme.

101. As set forth herein, Defendant EMMC used its illegal monopoly power to
suppress competition and harm Plaintiffs by enacting an overarching, illegal scheme to affect,
fix, raise, maintain and/or stabilize at artificial and non-competitive levels, the prices of agaricus
mushrooms that were sold, distributed or obtained in the United States. Alternatively, if it is
determined that Defendant EMMC has not yet secured monopoly power, its conduct constitutes
attempted monopolization which has harmed Plaintiffs and poses a dangerous possibility of
success. Through this illegal conduct, Defendant EMMC has violated section 2 of the Sherman
Act.

102. These illegal practices of Defendant EMMC have resulted in continuing and

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accumulating harm to Plaintiffs by allowing Defendant EMMC and its members to affect, fix,
raise, maintain and/or stabilize at artificial and non-competitive levels the prices at which
agaricus mushrooms were sold, distributed or obtained in the United States. The continuing and
accumulating harm suffered by Plaintiffs includes being overcharged for agaricus mushrooms as
a result of Defendant EMMC’s monopoly or attempted monopoly.

103. Acts of monopolization or attempted monopolization such as those of Defendant
EMMC are not activities that are protected by the exemption from the antitrust laws created by
Capper- Volstead. Under Capper-Volstead, farm cooperatives are not immune from antitrust
liability when a member or members of the cooperative are not “farmers” within the meaning of
Capper-Volstead. One or some of the EMMC members are not “farmers” within the meaning of
Capper-Volstead. Additionally, under Capper-Volstead, farm cooperatives are not immune from
antitrust liability when they engage in exclusionary practices, monopolize trade or suppress
competition with non-members, which is what Defendants did here. By eliminating mushroom
supply from non-EMMC members, and/or using collective efforts to penalize non-EMMC
members that charged lower prices, the Defendants suppressed competition from growers that
were not members of the cooperative.

104. There was no legitimate business justification for the willful acquisition,
maintenance, and/or attempted acquisition or maintenance of monopoly power by Defendant
EMMC. Defendants’ scheme, collusion, agreement and conspiracy alleged herein has enabled
Defendant EMMC and its members to maintain prices for agaricus mushrooms at artificially
high levels.

105. Asa direct and proximate result of the Defendant EMMC’s willful acquisition,

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maintenance, and/or attempted acquisition or maintenance of monopoly power, Plaintiffs were

injured in their business or property because competition in the relevant markets was

substantially foreclosed. Without limiting the generality of the foregoing, Plaintiffs have been

forced to pay higher prices for agaricus mushrooms in the relevant market than they would have

paid in the absence of Defendants’ unlawful conduct.

REQUEST FOR RELIEF

WHEREFORE, Plaintiffs respectfully request:

a.

That Defendants’ unlawful combination and conspiracy as set forth in
Count II of this Complaint be adjudicated and decreed a violation of the

Sherman Act, 15 U.S.C. § 2;

That Plaintiffs recover damages against Defendant EMMC, jointly and
severally, in an amount to be trebled in accordance with the antitrust laws

pursuant to 15 U.S.C. § 15(a);

That Plaintiffs be awarded their expenses and costs of prosecuting this
action, including reasonable attorneys’ fees and experts’ fees and costs to

the extent provided by law;

That Plaintiffs be awarded pre-judgment and post-judgment interest at the
highest legal rate allowable by law;

That this Court permanently enjoin all continuing and future unlawful

activity by Defendant EMMC in violation of the antitrust laws; and

That Plaintiffs be awarded such additional relief as this Honorable Court

may deem just and proper.

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COUNT Il
(Violation of the Clayton Act § 7 — Unlawful Acquisition)
(Against All Defendants)

106. Plaintiffs repeat and reallege all preceding paragraphs of this Complaint as if fully
set forth herein.

107. Defendants unlawfully acquired the assets of their direct competitors, as detailed
above, thereby substantially lessening competition in a relevant market—i.e., the market for
fresh and canned agaricus mushrooms in the United States and/or the market for fresh and
canned agaricus mushrooms grown in the Eastern United States. This acquisition violated
Section 7 of the Clayton Act, 15 U.S.C. § 18.

108. By reason of the antitrust violations of the Defendants alleged herein, the prices of
the mushrooms purchased were higher than they would have been but for Defendants’ violation
of antitrust laws.

109. Defendants’ acquisition and holding of competitor mushroom farms violated
Section 7 of the Clayton Act.

110. Asa direct and proximate result of the Defendants’ acquisition of their
competitors, Plaintiffs and other members of the Class were injured in their business or property
by the substantial lessening of competition in the relevant markets. Without limiting the
generality of the foregoing, Plaintiffs have been forced to pay higher prices for fresh and canned

agaricus mushrooms in the relevant market than they would have paid in the absence of

Defendants’ unlawful conduct.

REQUEST FOR RELIEF

WHEREFORE, Plaintiffs respectfully request:

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a. That the acts alleged herein be adjudged and decreed unlawful acts in
violation of Section 7 of the Clayton Act;

b. That Plaintiffs recover damages against Defendants, jointly and severally,
in an amount to be trebled in accordance with the antitrust laws pursuant

to 15 U.S.C. § 15(a);

c. That Plaintiffs be awarded their expenses and costs of prosecuting this
action, including reasonable attorneys’ fees and experts’ fees and costs to

the extent provided by law;

d. That Plaintiffs be awarded pre-judgment and post-judgment interest at the
highest legal rate allowable by law;

e. That this Court permanently enjoin all continuing and future unlawful

activity by Defendants in violation of the antitrust laws; and

f. That Plaintiffs be awarded such additional relief as the Court may deem
proper.
COUNT IV

(Violation of the Ohio Valentine Act)
(Against All Defendants)

111. Plaintiffs repeat and reallege all preceding paragraphs of this Complaint as if fully
set forth herein.

112. From at least May 2001, and continuing to date, Defendants combined and
conspired to prevent, forestall and restrict competition from independent mushroom producers in
violation of The Ohio Valentine Act, Ohio Rev. Code §§ 1331.01, 1331.04-06, and 1331.08.

113. To form and effectuate this conspiracy, EMMC and its members did the following
things, among others:

a. collectively funded the Supply Control campaign;

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b. sold four properties with permanent deed restrictions forbidding the

conduct of any business related to the production of mushrooms;

c. entered agreements with nonmembers to place deed restrictions on two

properties for which the cooperative purchased lease options;

d. filed deed restrictions on two properties prohibiting the conduct of any

business related to the production of mushrooms for ten years; and

e. supported and reinforced the scheme by: (i) collectively interfering with,
penalizing and retaliating against any non-EMMC growers that sought to
sell at prices that were below the artificially-inflated prices set by the
EMMC; and (ii) using collective and conspiratorial acts to pressure
independent growers to join the EMMC and the Defendants’

anticompetitive scheme.

114. The campaign by EMMC and its members to control the supply of mushrooms is
not a joint activity protected by the exemption from the Ohio antitrust laws created by the
Cooperative Agricultural Act of Ohio, Ohio Rev. Code § 1729.70.

115. Asa direct and proximate result of Defendants’ unlawful conduct, Plaintiffs have
paid (and will continue to pay) more for fresh and canned agaricus mushrooms purchased in
Ohio than they otherwise would have paid in the absence of Defendants’ unlawful conduct.

116. The price for agaricus mushrooms will remain artificially high for an indefinite
period into the future due to the long lead time needed to start a mushroom farm and other
barriers to entry.

REQUEST FOR RELIEF

WHEREFORE, Plaintiffs respectfully request:

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a. That Defendants’ unlawful combination and conspiracy as set forth in this
Complaint be adjudicated and decreed a violation of the Ohio Valentine

Act, Ohio Rev. Code §§ 1331.01, 1331.04, and 1331.05;

b. That Plaintiffs recover damages against Defendants, jointly and severally,
in an amount to be doubled in accordance with the antitrust laws pursuant

to Ohio Rev. Code §1331.08;

c. That Plaintiffs be awarded their expenses and costs of prosecuting this
action, including reasonable attorneys’ fees and experts’ fees and costs to

the extent provided by law;

d. That Plaintiffs be awarded pre-judgment and post-judgment interest at the
highest legal rate allowable by law;

e. That this Court permanently enjoin all continuing and future unlawful

activity by Defendants in violation of the antitrust laws; and

f. That Plaintiffs be awarded such additional relief as the Court may deem

proper.

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JURY TRIAL DEMANDED
Pursuant to Fed. R. Civ. P. 38(b), Plaintiffs demand a trial by jury of all of the claims

asserted in this complaint so triable.

Dated: June 14, 2007 Respectfully submitted,

Linn TF [hola

Lawrence T. Hoyle,’ Ir.

PA ID No. 02926

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CERTIFICATE OF SERVICE

I hereby certify that a true and correct copy of the foregoing Amended Complaint was

served upon the following in the manner indicated this 14" day of June, 2007:

BY HAND DELIVERY:
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Patricia M. Hamill, Esq.

Kevin D. Kent, Esq.

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Mushroom Farms, Inc., Giorgi
Mushroom Co., Giorgi Foods, Inc.,
Cardile Mushrooms, Inc., Cardile Bros.
Mushrooms Packaging, Monterey
Mushrooms, Inc., Franklin Farms, Inc.,
Modern Mushroom Farms, Inc., Gino
Gaspari & Sons, Inc., Oakshire
Mushroom Farm, Inc., Brownstone
Mushroom Farms, Inc., Robert A.
Ferranto, Jr. t/a Bella Mushroom F arms,
Country Fresh Mushroom Co., Forrest
Mushroom, Inc., LRP Mushrooms, Inc.,
Leone Pizzini & Sons, Inc., Louis J.
Marson Jr. Inc., SH Guest, t/a Kennett
Shitake, Mario Cutone Mushroom Co.,
Inc. and/or M. Cutone Mushroom Co.,
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Unrepresented Defendants (via regular

mail or via service of process):

Masha & Toto, Inc. t/a M&T Mushrooms

519 Hillendale Road
Avondale, PA 19311

Mushroom Alliance

c/o CT Corporation System
520 Pike Street

Seattle, Washington 98101

W&P Mushroom Inc.
4300 Barnsley Chrome Road
Oxford, PA 19363

J-M Farms, Inc.
7001 S. 580 Road
Miami, OK 74354

To-Jo Fresh Mushrooms, Inc.
and/or To-Jo Mushrooms, Inc.
974 Penn Green Road
Avondale, PA 19311

Sher-Rockee Mushroom Farms, LLC
170 Sher-Rockee Lane

Lincoln University, PA 19352

C & C Carriage Mushroom Co.
1340 Newark Road
Toughkenamon, PA 19374

South Mill Mushroom Sales, Inc.
649 West South Street
Kennett Square, PA 19348

Creekside Mushrooms Ltd.
One Moonlight Drive
Worthington, PA 16262

South Mill Mushroom Sales, Inc.
649 West South Street

P.O. Box 1037

Kennett Square, PA 19318

Cardile Brothers Mushroom Packaging, Inc.

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Avondale, PA 19311

Dub a?

Arleigh ” Helfer III
